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Attorney for Rachel Ann Kingston


                             IN THE UNITED STATES DISTRICT COURT

                              DISTRICT OF UTAH, CENTRAL DIVISION

     UNITED STATES OF AMERICA,                         OBJECTION TO MAGISTRATE
                                                       JUDGE’S DECEMBER 7, 2018 ORDER
             Plaintiff,                                (ECF NO. 100) AND MOTION FOR BILL
                                                       OF PARTICULARS
     v.

     JACOB O. KINGSTON, et al.,                        Case No. 2:18-cr-00365-JNP
                                                       Honorable Jill N. Parrish
             Defendants.


           In accordance with 28 U.S.C. § 636(b)(1)(C), Rachel Ann Kingston (“Ms. Kingston”)
hereby objects to the Protective Order entered by Magistrate Judge Brooke Wells on December
7, 2018 (Dkt. 100), pursuant to the government’s Motion for Protective Order (Dkt. 99), and
requests the Court’s de novo review. Ms. Kingston also moves the Court for an order requiring
the government to provide her with a bill of particulars so she can prepare a defense and avoid
prejudicial surprise at trial.
           In support of her objection to the Magistrate’s order and her Motion for a Bill of
Particulars, Ms. Kingston hereby incorporates by reference, to the extent applicable, the
recitation of facts as well as the arguments set forth in Defendant Sally Kingston’s memorandum
(“Sally Kingston’s Motion”) filed on February 21, 2019 (Dkt. 194).
I.         BACKGROUND
           Ms. Kingston hereby incorporates by reference the recitation of factual events as laid out
in Sally Kingston’s Memo as applicable to the case as a whole.
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       The government first indicted Ms. Kingston in the Second Superseding Indictment (the
“Indictment”) filed on January 17, 2019. The government unsealed the Indictment and arraigned
Ms. Kingston on January 22. The government charged Ms. Kingston with conspiracy (Counts 1,
23), money laundering (Counts 40-41), and destroying records (Count 45). The Indictment
alleges that Ms. Kingston “was a resident of Utah, the mother of Defendants Jacob Kingston and
Isaiah Kingston, and the “Special Projects Manager” at Washakie.” (Indictment ¶ 5.) The
Indictment also alleges that Ms. Kingston is a member of the Davis Cooperative Society.
(Indictment ¶ 11.) Those two paragraphs comprise the sum total of the government’s specific
allegations regarding Ms. Kingston.
II.    ARGUMENT
       Ms. Kingston hereby incorporates by reference the arguments set forth in Sally
Kingston’s Memo regarding both the Objection to the Magistrate’s previous order, entered
before Ms. Kingston was indicted, as well as the Motion for a Bill of Particulars.
       As detailed in Sally Kingston’s Memo, Ms. Kingston cannot adequately prepare for trial
if the Jencks material is only produced three weeks prior to trial, especially in light of the
additional limitation that defendants not be notified of key witnesses against them until three
days before trial. The Court should revise the Protective Order.
       Additionally, the Court should order the government to produce a bill of particulars to
adequately apprise Ms. Kingston of the charges against her. As detailed in Sally Kingston’s
Memo, the government’s style of group-pleading throughout the Indictment prohibits Ms.
Kingston from fully evaluating and defending herself from the charges against her.
       In the short time Ms. Kingston has been involved in this case, one thing is clear: the
government is seeking to obfuscate the charges in order to prevent the defendants from
adequately preparing for trial. In the government’s Motion for Protective Order, it wrote:
               the government has informed defense counsel that, while it reserves its
               right to produce some Jencks Act type material consistent with the
               statutory provision, it is willing to provide the bulk of the Jencks Act
               material two to three weeks before whatever is the final and certain trial
               date. More specifically, even with an early production of the bulk of the
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               Jencks Act type material, the government reserves the right not to provide
               the most sensitive of the Jencks Act type materials prematurely due to the
               obvious safety concerns it has for many of the United States’ witnesses.
               While in some cases, an ex parte in camera showing to the Court may be
               made by the government to support such concerns, the government
               submits that sufficient evidence was introduced during the detention
               hearings to support such safety concerns.

(Dkt. 99 at 2-3.) The government has maintained this position while also advocating for
detention of certain defendants to specifically address those same alleged safety concerns. Yet
the government has been unable to articulate any present safety concerns that are posed against
any witnesses. The government is claiming a nonexistent right to have its cake and eat it too.
        The government continues to assert this position in its recent filing setting forth its
position on the length of trial and trial calendar. (Dkt. 198.) It maintains it will produce the
“Bulk” of the Jencks Act materials three weeks before trial. (Dkt. 198 at 3.) Yet the government
has never explained to this Court or Judge Wells what “bulk” actually means and when it plans
to produce the entirety of the material.
III.    CONCLUSION
        In addition to incorporating by reference the relief sought in Sally Kingston’s Motion,
Ms. Kingston respectfully asks this Court to order the government to explain (1) how much
Jencks Act material is in its possession; (2) how much of that material it will produce three
weeks before trial, and (3) when defense counsel will actually receive the remainder of the
material.
DATED: February 25, 2019




                                                     /s/ Cara Tangaro
                                                     CARA M. TANGARO
                                                     Attorney for Defendant Rachel Ann Kingston
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                               CERTIFICATE OF SERVICE


       I hereby certify that on February 25, 2019, the foregoing OBJECTION TO

MAGISTRATE JUDGE’S DECEMBER 7, 2018 ORDER (ECF NO. 100) AND MOTION
FOR BILL OF PARTICULARS was served on the person(s) named below via the Court’s

electronic filing system:

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